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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION

CHRISTIAN S. KENNEDY,

                   Plaintiff,
v.                                          Case No: 6:22-cv-2210-PGB-EJK

HEALTHCARE REVENUE
RECOVERY GROUP, LLC and
INPATIENT CONSULTANTS OF
FLORIDA, INC.,

                   Defendants.
                                     /

            CASE MANAGEMENT AND SCHEDULING ORDER

                               PLEASE TAKE NOTE
 All parties must thoroughly review the contents of this order, which shall govern all
 proceedings in this action, unless subsequently modified by written order for good
 cause shown.

      Having considered the Case Management Report prepared by the parties,

see Federal Rule of Civil Procedure 26(f) and Local Rule 3.02(b), the Court enters

this Case Management and Scheduling Order:

 Mandatory Initial Disclosures                                    January 23, 2023

 Motions to Add Parties or to Amend Pleadings                   February 20, 2023

 Plaintiff’s Deadline for Disclosing Class Action                      July 14, 2023
 Expert Report(s)
 Defendant’s Deadline for Disclosing Class                          August 11, 2023
 Action Expert Report(s)
 Discovery Deadline – Class Certification                       September 8, 2023

 Motion for Class Certification                                    October 6, 2023

 Response to Motion for Class Certification                       October 27, 2023
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    Reply to Response to Motion for Class                               November 10, 2023
    Certification
    Disclosure of Expert Reports 1
                                                   Plaintiff:              February 5, 2024
                                                 Defendant:                  March 4, 2024
    Discovery Deadline                                                           April 1, 2024
    The parties are advised that the pendency of a
    dispositive motion, such as a motion to dismiss
    or for summary judgment, does not stay the
    deadline for completion of discovery. Parties
    who elect to forego discovery on the merits of
    any claim or defense due to the pendency of a
    dispositive motion or for any other reason,
    without leave of Court, will not be entitled to an
    extension of the deadlines set forth in this
    order.
    Dispositive Motions, Daubert, and Markman                                     May 1, 2024
    Motions 2
    Due to the high volume of pending dispositive
    motions in this division, the Court is not likely
    to resolve these motions until after the
    dispositive motions deadline. To the extent that
    an accelerated resolution of your dispositive
    motion is required, you are encouraged to
    consent to the jurisdiction of the assigned
    United States Magistrate Judge to resolve the
    motion or the case in its entirety. You are
    advised that during the pendency of your
    motion, discovery will not be stayed.
    Meeting In Person to Prepare Joint Final                                  August 5, 2024
    Pretrial Statement. Parties shall disclose to
    each other, in writing, whether any trial
    witness will be appearing live at trial, or via
    deposition designation. Parties shall be bound
    by their disclosures, which shall be
    incorporated into the Court’s Final Pretrial
    Order.
    Joint Final Pretrial Statement (including a                              August 19, 2024
    single set of jointly-proposed Jury Instructions


1This includes experts as defined by Fed.R.Civ.P. 26(a)(2)(c).
2See page 8 Section H1 for additional mandatory deadlines and requirements. Failure to comply
will result in appropriate sanctions.


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 and Verdict Form, Voir Dire Questions,
 Witness Lists, Exhibit Lists with Objections on
 Approved Form, and Deposition Designations).
 Also send Jointly-Proposed Jury Instructions
 and Verdict Form to Chamber’s email
 [chambers_flmd_Byron@flmd.uscourts.gov]
 in Microsoft Word® format and send all full
 deposition transcripts the parties intend to
 designate for use at trial to the Court on a CD
 or thumb drive.
 All Other Motions Including Motions In Limine                 August 26, 2024
 and Objections to Deposition Designations and
 Counter-Designations on approved form.
 (MULTIPLE MOTIONS IN LIMINE DISFAVORED.
 ALL REQUESTS TO LIMIT EVIDENCE MUST BE
 INCLUDED IN A SINGLE MOTION NOT TO EXCEED
 25 PAGES WITHOUT PRIOR LEAVE OF COURT.
 RESPONSES LIMITED TO 20 PAGES WITHOUT
 PRIOR LEAVE OF COURT.)
 Objections to Counter-Designations                         September 3, 2024
 Final Pretrial Conference                     Date:       September 17, 2024
                                              Time:                   3:00 p.m.
                                             Judge:              Paul G. Byron
                                                                 Courtroom 4B
 Trial Term Begins                                             October 1, 2024
                                                                    9:00 a.m.
 Estimated Length of Trial                                             2-3 days
 Jury / Non-Jury                                                           Jury
 Mediation
                                          Deadline:              April 15, 2024

                                          Mediator:                James Betts
 Plaintiff’s counsel shall contact
 opposing counsel and the mediator to Address:                710 S Boulevard
 reserve a conference date and shall file                    Tampa, FL 33606
 a Notice with the Court within 14 days                jbetts@tampabay.rr.co
 of this Order advising of the date.                                       m
                                         Telephone:            (813) 254-3302




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      The purpose of this order is to discourage wasteful pretrial activities and to

secure the just, speedy, and inexpensive determination of the action. See Fed. R.

Civ. P. 1; Local Rule 1.01(a). This order controls the subsequent course of this

proceeding. Fed. R. Civ. P. 16(b), (e). Counsel and all parties (both represented and

pro se) shall comply with this order, with the Federal Rules of Civil Procedure, with

the Local Rules of the United States District Court for the Middle District of

Florida, and with the Administrative Procedures for Case Management/Electronic

Case Filing. A copy of the Local Rules and Administrative Procedures

may be viewed at http://www.flmd.uscourts.gov.


        I.   DISCOVERY


       A.    Certificate of Interested Persons and Corporate Disclosure
Statement – This Court has previously ordered each party, governmental party,
intervenor, non-party movant, and Rule 69 garnishee to file and serve a Certificate
of Interested Persons and Corporate Disclosure Statement using a mandatory
form. No party may seek discovery from any source before filing and serving a
Certificate of Interested Persons and Corporate Disclosure Statement. A motion,
memorandum, response, or other paper – including emergency motion – may be
denied or stricken unless the filing party has previously filed and served a
Certificate of Interested Persons and Corporate Disclosure Statement. Any party
who has not already filed and served the required certificate shall do so within
fourteen (14) days from the date of this order, or sanctions will be imposed.

      B.    Discovery Not Filed – The parties shall not file discovery materials
with the Court except as provided in Fed.R.Civ.P.5(d)(1). The Court encourages the
exchange of discovery requests on CD or by e-mail.

       C.     Limits on Discovery – Absent leave of Court, the parties may take
no more than ten (10) depositions per side (not per party). Fed. R. Civ. P.
30(a)(2)(A); Fed. R. Civ. P. 31(a)(2)(A). Absent leave of Court, the parties may
serve no more than twenty-five (25) interrogatories, including sub-parts. Fed. R.
Civ. P. 33(a). Absent leave of Court or stipulation by the parties, each deposition
is limited to one (1) day of seven (7) hours. Fed. R. Civ. P. 30(d)(2). The Court will



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expect counsel to utilize requests for production of documents under Federal Rule
of Civil Procedure 34 in a thoughtful, case-specific, non-harassing fashion.
Responses should be timely, complete, and devoid of boilerplate, non-specific
objections. Failure to follow these guidelines will result in limitations on
production requests and/or the imposition of sanctions. The parties may agree by
stipulation on other limits on discovery within the context of the limits and
deadlines established by this Case Management and Scheduling Order, but the
parties may not alter the terms of this Order without leave of Court. See, e.g., Fed.
R. Civ. P. 29.

      D.     Discovery Deadline – Each party shall timely serve discovery
requests so that the Rules allow for a response prior to the discovery deadline. The
Court may deny as untimely all motions to compel filed after the discovery
deadline.

       E.     Disclosure of Expert Testimony – On or before the date set forth
in the above table for the disclosure of expert reports, the party shall fully comply
with Federal Rules of Civil Procedure 26(a)(2) and 26(e). Expert testimony on
direct examination at trial will be limited to the opinions, bases, reasons, data, and
other information in the written expert report disclosed pursuant to this Order.
Each paragraph of the expert report shall be numbered. The expert shall clearly
state his or her opinions in a section entitled “OPINIONS,” with each opinion listed
separately. Each party is limited to one expert per topic, issue, or subject matter
absent leave of court. If co-plaintiffs or co-defendants desire to disclose separate
experts whose opinions address opinions issued by another expert, leave of court
is required prior to the disclosure of the overlapping experts. Failure to disclose
such information may result in the exclusion of all or part of the testimony of the
expert witness.

       F.    Confidentiality Agreements – Stipulated motions for entry of a
protective order are discouraged and unnecessary because the Court will enforce a
written agreement to protect the confidentiality of information produced during
discovery – including by designating such information as “confidential” – so long
as such agreement (1) includes the following statement “No party shall file a
document under seal unless the Court previously granted a motion to file under
seal which was submitted to the Court in compliance with Local Rule 1.11”; and (2)
is signed by the necessary parties and attorneys.

II.   MOTIONS

       A.      Certificate of Good Faith Conference – Before filing any motion
in a civil case, the moving party shall confer with the opposing party in a good faith


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effort to resolve the issues raised by the motion, and shall file with the motion a
statement certifying that the moving party has conferred with the opposing
party, and that the parties have been unable to agree on the resolution of the
motion. Local Rule 3.01(g); Fed. R. Civ. P. 26(c). A certification that states
opposing counsel was unavailable must comply with Local Rule 3.01(g)(3). See
Local Rule 3.01(g). No certificate is required in a motion for injunctive relief, for
judgment on the pleadings, for summary judgment, to dismiss or to permit
maintenance of a class action, to dismiss for failure to state a claim upon which
relief can be granted, or to involuntarily dismiss an action. Local Rule 3.01(g).
Nonetheless, the Court expects that a party alleging that a pleading fails to state a
claim will confer with counsel for the opposing party before moving to dismiss and
will agree to an order permitting the filing of a curative amended pleading. Fed. R.
Civ. P. 15. The term "counsel" in Rule 3.01(g) includes pro se parties acting as their
own counsel, thus requiring movants to confer with pro se parties and requiring
pro se movants to file Rule 3.01(g) certificates. The term “confer” in Rule 3.01(g)
requires a substantive conversation in person or by telephone in a good faith effort
to resolve the motion without court action and does not envision an exchange of
ultimatums by fax, letter or email. Counsel who merely “attempt” to confer have
not “conferred.” Counsel must respond promptly to inquiries and communications
from opposing counsel. Board of Governors of the Florida Bar, Ideals and Goals of
Professionalism, ¶ 6.10 and Creed of Professionalism ¶ 8 (adopted May 16, 1990),
available at www.floridabar.org (Professional Practice - Henry Latimer Center for
Professionalism). The Court will deny motions that fail to include an appropriate,
complete Rule 3.01(g) certificate.

      B.     Extension of Deadlines

      The parties may not extend deadlines established in this Case Management
and Scheduling Order without the Court’s approval.

             1.    Dispositive Motions Deadline and Trial Not Extended
– Motions to extend the dispositive motions deadline or to continue trial are
generally denied. The Court will grant an exception only when necessary to prevent
manifest injustice. A motion for a continuance of the trial is subject to denial if it
fails to comply with Local Rule 3.08(a). The Court cannot extend a dispositive
motions deadline to the eve of trial. In light of the district court’s heavy felony trial
calendar, at least 4 months are required before trial to receive memoranda in
opposition to a motion for summary judgment and to research and resolve the
dispositive motion sufficiently in advance of trial.

            2.     Extensions of Other Deadlines Disfavored – Motions for
an extension of other deadlines established in this order, including motions for an


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extension of the discovery period, are disfavored. The deadline will not be extended
absent a showing of good cause. Fed. R. Civ. P. 16(b). Failure to complete discovery
within the time established by this Order shall not constitute good cause for
continuance. A motion to extend an established deadline normally will be denied
if the motion fails to recite that: 1) the additional discovery is necessary for
specified reasons; 2) all parties agree that the extension will not affect the
dispositive motions deadline and trial date; 3) all parties agree that any discovery
conducted after the dispositive motions date established in this Order will not be
available for summary judgment purposes; and 4) no party will use the granting of
the extension in support of a motion to extend another date or deadline. The
movant must show that the failure to complete discovery is not the result of lack of
diligence in pursuing discovery. Local Rule 3.08(a). The filing of a motion for
extension of time does not toll the time for compliance with deadlines established
by Rule or Order.

       C.     Motions to Compel and for Protective Order – The parties
must be diligent in their discovery efforts and – subject to compliance with the
Good Faith Conference and Certification Requirements – must promptly raise any
discovery dispute with the Court. In raising such a dispute, the moving party must
comply with the procedural and formatting instructions set forth in Local Rule
3.01(a). The parties are advised that the Court routinely denies motions to compel
that are filed after the discovery deadline as untimely.

      D.     Motions to File Under Seal – Whether documents filed in a case
may be filed under seal is a separate issue from whether the parties may agree that
produced documents are confidential. Motions to file under seal are disfavored,
and such motions will be denied unless they comply with Local Rule 1.11.

      E.     Memoranda in Opposition – Each party opposing any written
motion shall file a legal memorandum with citation of authorities in opposition to
the relief requested and shall comply with the deadlines set forth in Local Rule
3.01(c). Where no memorandum in opposition has been filed, the Court routinely
grants the motion as unopposed. Motions titled as “unopposed” or “agreed”
normally come to the Court’s attention prior to the deadline for response. If the
parties are in agreement, counsel shall identify motions as “unopposed” or
“agreed.”

      F.     Emergency Motions – The Court may consider and determine
emergency motions at any time. Local Rule 3.01(e). Counsel should be aware that
the designation “emergency” may cause a judge to abandon other pending matters
in order to immediately address the “emergency.” The Court may sanction any



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counsel or party who designates a motion as “emergency” under circumstances
that are not a true emergency. Id. It is not an emergency when counsel has delayed
discovery until the end of the discovery period. Promptly after filing an emergency
motion, counsel shall place a telephone call to the chambers of the presiding judge
to notify the Court that an emergency motion has been filed.

      G.     Page Limits – No party shall file a motion and supporting
memorandum in excess of twenty-five pages or a response in excess of twenty (20)
pages except by permission of the Court. Local Rule 3.01(a), (b). A motion
requesting leave to file either a motion in excess of twenty-five (25) pages, a
response in excess of twenty (20) pages, or a reply or further memorandum may
not exceed three (3) pages, shall specify the length of the proposed filing, and shall
not include, as an attachment or otherwise, the proposed motion, response, reply,
or other paper. Local Rule 3.01(d). Motions for relief from page limitations are
disfavored and will not be granted without a specific showing of good cause.

      H.     Motions for Summary Judgment

              1.     Required Materials - Fourteen (14) days before a party files
a motion for summary judgment, counsel for all parties affected by the motion shall
meet and confer to create a Stipulation of Agreed Material Facts which will be
deemed admitted for the purpose of the motion. The Stipulation shall be filed with
the Court. A motion for summary judgment shall specify the stipulated material
facts pertinent to the resolution of the motion, and shall be accompanied by a
memorandum of law, affidavits and other evidence in the form required by Federal
Rule of Civil Procedure 56. The motion for summary judgment and supporting
memorandum of law shall be presented in a single document of not more than
twenty-five (25) pages. Local Rule 3.01(a). Each party opposing a motion for
summary judgment shall file and serve, within twenty-one (21) days after being
served with such motion, a legal memorandum with citation to authorities in
opposition to the relief requested of not more than twenty (20) pages. Id. The
memorandum in opposition shall specify the stipulated material facts pertinent to
the resolution of the motion, and shall be accompanied by affidavit(s) and other
evidence in the form required by Federal Rule of Civil Procedure 56. Both the
movant and the party opposing summary judgment shall provide pinpoint
citations to the pages and lines of the record supporting each material fact. General
references to a deposition are inadequate. The Court will accept a ten (10) page
reply without leave of Court. The reply shall be limited to addressing issues raised
by the opposing party that have not already been addressed in the motion. The
reply shall be filed within fourteen (14) days after the response is served.




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              2.     Under Advisement – The Court takes a motion for summary
judgment under advisement no earlier than twenty-one (21) days from the
date it is served, unless the Court orders a different date. Unless specifically
ordered, the Court will not hold a hearing on the motion. Each party may only file
one motion for summary judgment. Failure to oppose any motion for summary
judgment may result in the entry of a judgment for the movant without further
proceedings. See Milburn v. United States, 734 F.2d 762, 765 (11th Cir. 1984);
Griffith v. Wainwright, 772 F.2d 822, 825 (11th Cir. 1985) (per curiam); Fed. R.
Civ. P. 56 (e). All requirements in this Order apply to pro se litigants as well as to
parties represented by counsel.

       I.     Daubert and Markman Motions3 – On or before the date
established in the above table for the filing of motions for summary judgment, any
party seeking a ruling pursuant to Daubert v. Merrell Dow Pharms., Inc., 509 U.S.
579 (1993) (admissibility of expert opinions) or pursuant to Markman v. Westview
Instruments, Inc., 517 U.S. 370 (1996) (interpretation of a patent claim) shall file
an appropriate motion. The parties shall prepare a glossary of technical or
scientific terms where appropriate for the Court. Please note, challenges to an
opinion offered by an expert, including the facts considered by the expert, the
expert's methodology, and the content and scope of the opinion(s) shall not be
raised in a motion in liminie. All challenges to expert testimony shall be presented
in compliance with the deadline for Daubert motions.

       J.    All Other Motions Including Motions In Limine – On or before
the date established in the above table, the parties shall file and serve all other
motions including motions in limine. Local Rule 3.01(g) applies, and the parties
shall confer to define and limit the issues in dispute.

III.   JOINT FINAL PRETRIAL STATEMENT

       A.    Meeting In Person – On or before the date established in the above
table, lead trial counsel for all parties and any unrepresented parties shall
meet pursuant to Local Rule 3.06(a) in a good faith effort to:

             1.    Settle the case; the parties shall thoroughly and exhaustively
discuss settlement of the action before undertaking the extensive efforts needed to
conduct final preparation of the case for trial and to comply with the requirements
of this order;


3All Daubert challenges and motions to strike the adequacy of compliance with Fed. R.
Civ. P. 26 of an expert's report are to be ruled p on by the district judge unless
specifically referred to the magistrate for a report and recommendation.


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              2.     Stipulate to as many facts and issues as possible; in order to
 assist the Court, the parties shall make an active and substantial effort to stipulate
 at length and in detail as to agreed facts and law, and to limit, narrow, and simplify
 the issues of fact and law that remain contested; as a rule, parties who have
 complied with this requirement in good faith will file a Joint Final Pretrial
 Statement listing far more agreed facts and principles of law than those that
 remain for determination at trial;

               3.     Tag, mark, identify, examine, copy, and list all original trial
 exhibits (including actual document exhibits) that any party will offer in evidence
 or otherwise tender to any witness during trial [Local Rule 3.07]; and prepare and
 exchange a final exhibit list on the Clerk’s approved form (attached to this order)
 bearing a description identifying each exhibit and sponsoring witness [Local Rule
 3.07]; it is anticipated that counsel will agree to the admission of the bulk of the
 opposing parties’ exhibits without objection and shall designate on the exhibit list
 the exhibits which the Court may admit without objection at trial. Absent good
 cause, the Court will not receive in evidence over objection any exhibits—including
 charts, diagrams, and demonstrative evidence—not presented to opposing counsel
 or unrepresented parties for inspection and copying at the required meeting or not
 listed in the joint final pretrial statement. Photographs of sensitive exhibits (i.e.,
 guns, drugs, valuables) and of non-documentary evidence, and reductions of
 documentary exhibits larger than 8 ½” by 14” to be substituted for original exhibits
 after conclusion of the trial must be presented to opposing counsel for examination
 at the meeting to prepare the Joint Final Pretrial Statement. Objections to such
 photographs or reductions of exhibits must be listed in the Joint Final Pretrial
 Statement. The parties are advised that the design of certain courtrooms may
 preclude the use of large exhibits and posters in a jury trial. The parties are directed
 to contact the trial judge’s courtroom deputy clerk to discuss exhibits and
 equipment to be used during trial. Plaintiffs and Defendants shall use a numerical
 system to mark exhibits, i.e. 1, 2, 3, etc;

             4.      Exchange the names and addresses of all witnesses and state
 whether they will likely be called.

       B.     The Joint Final Pretrial Statement

              1.    Form of Joint Final Pretrial Statement – On or before the
 date established in the above table, the parties shall file a Joint Final Pretrial
 Statement that strictly conforms to the requirements of Local Rule 3.06(b) and this
 Order. This case must be fully ready for trial at the time that the Joint
 Final Pretrial Statement is due. Lead trial counsel for all parties, or the parties



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 themselves if unrepresented, shall sign the Joint Final Pretrial Statement. The
 Court will strike pretrial statements that are unilateral, incompletely executed, or
 otherwise incomplete. Inadequate stipulations of fact and law will be stricken.
 Sanctions may be imposed for failure to comply, including the striking of
 pleadings.

              2.     Exhibit List – The exhibit list filed in compliance with Local
 Rule 3.07(b) must be on the Clerk’s approved form (attached to this order).
 Unlisted exhibits will not be received into evidence at trial, except by order of the
 Court in the furtherance of justice. The Joint Final Pretrial Statement must attach
 each party’s exhibit list on the approved form, listing each specific objection (“all
 objections reserved” does not suffice) to each numbered exhibit that remains after
 full discussion and stipulation. Objections not made—or not made with
 specificity—are waived. Plaintiffs and Defendants shall use a numerical system to
 mark exhibits, i.e. 1, 2, 3, etc.

        Five (5) days prior to the date trial commences, each party shall provide the
 Court with a copy of their exhibits in PDF format on CD. Plaintiff is responsible for
 submitting any joint exhibits to the Court on CD. Multiple-page exhibits must
 contain individual page numbers or bates numbers. Each exhibit shall be set forth
 in a separate file on the CD, clearly numbered and labeled for the Court’s ease of
 reference. Composite exhibits may be set forth in one file. On the date trial
 commences, each party shall provide three (3) copies of their respective Exhibit
 List and Witness List to the Courtroom Deputy Clerk in the courtroom. Also on
 the day trial commences, one (1) set of original exhibits which include the
 appropriate colored exhibit tags stapled to the upper right hand corner of the first
 page shall be supplied to the Court. All exhibits shall be pre-marked pursuant to
 Local Rule 3.07. Joint exhibits which are not objected to shall be introduced and
 admitted at the outset of the trial. Photo substitutes of physical exhibits must be
 provided to the Courtroom Deputy Clerk at the close of evidence.

         To avoid duplication of exhibits and to prevent confusion in the record, the
 parties are encouraged to submit all stipulated exhibits as joint exhibits in a single
 list rather than individually marked by each party. For example, if medical records
 or contract documents are being stipulated into evidence, they should be marked
 as a Joint Exhibit and not listed separately by each party. Each party’s individual
 exhibit list would then include only those additional exhibits to which objections
 have been asserted with the specific objection noted on the exhibit list.

             3.     Witness List – On the witness list required by Local Rule
 3.06(b), the parties and counsel shall designate which witnesses will likely be



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 called, and also designate which witnesses may be called. Absent good cause, the
 Court will not permit, over objection, testimony from unlisted witnesses at trial.
 This restriction does not apply to true rebuttal witnesses (i.e., witnesses whose
 testimony could not reasonably have been foreseen to be necessary). Records
 custodians may be listed but will not likely be called at trial, except in the rare event
 that authenticity or foundation is contested. For good cause shown in compelling
 circumstances, the Court may permit presentation of testimony in open court by
 contemporaneous transmission from a different location. Fed. R. Civ. P. 43(a).

              4.     Depositions – The Court encourages stipulations of fact to
 avoid calling unnecessary witnesses. Where a stipulation will not suffice, the Court
 permits the use of depositions.         At the required meeting, counsel and
 unrepresented parties shall specify in writing in the Joint Final Pretrial Statement
 the pages and lines of each deposition (except where used solely for impeachment)
 to be published to the trier of fact.

         Counsel and unrepresented parties shall file their objections to deposition
 designations and their counter-designations by the date established in the table
 above. The objections to deposition designations shall take the form of a page-and-
 line description of any testimony objected to together with a citation to the
 authority for the objecting party’s position. The parties shall use the attached form
 titled “Objections to Deposition Designations.” The page-and-line description shall
 be in sequential order. If the same party was deposed on multiple dates, those
 page-and-line descriptions shall be set forth in separate charts as to each separate
 date of deposition. The objecting party may include its counter-designations in the
 same filing.

       The parties shall also prepare for submission a highlighted copy as to the
 portion objected to by each party of any deposition or deposition excerpt on CD for
 the Court’s review. The file name of each deposition should be clearly labeled and
 each deposition shall be contained in a separate file. The party shall deliver the CD
 to the Court on the day the objections to designations and counter-designations
 are due. By the date established in the table above, the parties shall file their
 objections to counter-designations.

        Five (5) days prior to trial, the parties shall electronically file with the Court
 color-coded copies of deposition transcripts (preferably mini-script versions),
 reflecting, in different highlighted colors, the deposition excerpts designated by
 each party, pursuant to the Court’s ruling on the parties’ objections.

           5.     Joint Jury Instructions, Verdict Form, Voir Dire
 Questions – In cases to be tried before a jury, the parties shall attach to the Joint


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 Final Pretrial Statement a single jointly proposed set of jury instructions
 in order of presentation to the jury, together with a single jointly-proposed
 jury verdict form. The parties should be considerate of their jury, and therefore
 should submit short, concise special verdict forms. The Court prefers the most
 recent pattern jury instructions approved by the United States Court of Appeals for
 the Eleventh Circuit. A party may include at the appropriate place in the single set
 of jointly-proposed jury instructions a contested charge, so designated with the
 name of the requesting party and bearing at the bottom a citation of authority for
 its inclusion, together with a summary of the opposing party’s objection. The Court
 will deny outright a proposed instruction that is “slanted” in any way. Any
 modifications to Eleventh Circuit standard jury instructions are
 disfavored and shall be clearly marked and identified on the proposed
 jury instructions. The Court requires that the parties send to the
 Chamber’s e-mail [chambers_flmd_Byron@flmd.uscourts.gov] a
 single set of jury instructions and verdict form in Microsoft Word®
 format. The parties may include in the Joint Final Pretrial Statement a single list
 of jointly-proposed questions for the Court to ask the venire during voir dire.

        C.     Coordination of Joint Final Pretrial Statement – All parties
 are responsible for filing a Joint Final Pretrial Statement in full compliance with
 this order. Plaintiff’s counsel (or plaintiff if all parties are proceeding pro se) shall
 have the primary responsibility to coordinate compliance with the sections of this
 order that require a meeting of lead trial counsel and unrepresented parties in
 person and the filing of a Joint Final Pretrial Statement and related material. See
 Local Rule 3.10 (relating to failure to prosecute). If the plaintiff is proceeding pro
 se, defense counsel shall coordinate compliance. If counsel is unable to coordinate
 such compliance, counsel shall timely notify the Court by written motion or request
 for a status conference.

        D.     Trial Briefs – In the case of a non-jury trial, on or before the date
 established above, each party shall file and serve a trial brief with proposed
 findings of fact and conclusions of law. The parties may file a trial brief on or before
 the same date in the case of a jury trial.

 IV.   MEDIATION


       A.     The Mediator – The Court prefers to appoint the certified and
 approved mediator, if any, chosen by the parties in their Case Management Report.
 The parties shall review the mediator requirements set forth in Local Rule 4.02(b).
 The mediator shall conduct the mediation conference in the conference room of



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 the mediator’s law firm or office at a time and date selected by the mediator within
 the confines of this order.

       B.    Last Date to Mediate – The parties shall complete the mediation
 conference on or before the mediation date set forth in the above table. Neither
 the mediator nor the parties have authority to continue the mediation
 conference beyond this date except on express order of the Court. In any
 complex case, or case involving multiple parties, the mediator has the authority to
 conduct the mediation in a series of sessions and in groups of parties so that
 mediation is complete by the last date to mediate.

        C.     Mediator’s Authority – The mediator shall have all powers and
 authority to conduct a mediation and to settle this case as are described in Chapter
 Four of the Local Rules, except as limited by this order. The mediation shall
 continue until adjourned by the mediator. In order to coordinate the
 mediation conference, the mediator may set an abbreviated scheduling conference
 prior to the scheduled mediation. At such time, the mediator may designate one or
 more coordinating attorneys who shall be responsible for conferring with the
 mediator regarding the mediation conference. If necessary, the coordinating
 attorney may coordinate the rescheduling of a mediation conference within the
 time allowed in this order.

       D.     General Rules Governing Mediation Conference

               1.    Case Summaries – Not less than two days prior to the
 mediation conference, each party shall deliver to the mediator a written summary
 of the facts and issues of the case.

              2.     Identification of Corporate Representative – As part of
 the written case summary, counsel for each corporate party shall state the name
 and general job description of the employee or agent who will attend and
 participate with full authority to settle on behalf of the corporate party.

              3.     Attendance Requirements and Sanctions – Each
 attorney acting as lead trial counsel, and each party (and in the case of a corporate
 party, a corporate representative) with full authority to settle, shall attend and
 participate in the mediation conference in person. In the case of an insurance
 company, the term “full authority to settle” means authority to settle for the full
 value of the claim or policy limit. The Court may impose sanctions upon lead
 counsel and parties who do not attend and participate in good faith in the
 mediation conference.




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             4.    Authority to Declare Impasse – Participants shall be
 prepared to spend as much time as may be necessary to settle the case. No
 participant may force the early conclusion of a mediation because of travel plans
 or other engagements. Only the mediator may declare an impasse or end the
 mediation.

             5.     Restrictions on Offers to Compromise – Evidence of an
 offer to compromise a claim is not admissible to prove liability for or invalidity of
 the claim or its amount. Fed. R. Evid. 408 (includes evidence of conduct or
 statements made in compromise negotiations). All discussion, representations,
 and statements made at the mediation conference are privileged settlement
 negotiations. Except in a supplemental proceeding to enforce a settlement
 agreement, nothing related to the mediation conference shall be admitted at trial
 or be subject to discovery. Fed. R. Evid. 408. A communication between a party
 and a mediator during a private caucus is also confidential, unless the party tells
 the mediator that it is not.

        E.    Compensation of Mediators – Absent agreement of the parties
 and the mediator, mediators shall be compensated at a reasonable hourly rate
 agreed to by the parties or provided by order of the Court, after consideration of
 the amount in controversy, the nature of the dispute, the resources of the parties,
 the prevailing market rate for mediators in the applicable market, the skill and
 experience of the mediator, and other pertinent factors. Unless altered by order of
 the Court, the cost of the mediator's services shall be borne equally by the parties
 to the mediation conference.

         F.   Settlement and Report of Mediator – A settlement agreement
 reached between the parties shall be reduced to writing and signed by the parties
 and their attorneys in the presence of the mediator. See Local Rule 4.03. Within
 seven days of the conclusion of the mediation conference, the mediator shall file
 and serve a written mediation report stating whether all required parties were
 present, whether the case settled, and whether the mediator was forced to declare
 an impasse. See Local Rule 4.03. The mediator may report any conduct of a party
 or counsel that falls short of a good faith effort to resolve the case by agreement or
 fails to comply with this Order. See Local Rule 4.03.

 V.    FINAL PRETRIAL CONFERENCE


        A.    Substance of Final Pretrial Conference – Since this case must
 be fully ready for trial at the time that the Joint Final Pretrial Statement is due, at
 the final pretrial conference, all counsel and parties must be prepared and



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 authorized to accomplish the purposes set forth in Federal Rules of Civil Procedure
 16 and Local Rule 3.06, including formulating and simplifying the issues;
 eliminating frivolous claims and defenses; admitting facts and documents to avoid
 unnecessary proof; stipulating to the authenticity of documents; obtaining advance
 rulings from the Court on the admissibility of evidence; settling the dispute;
 disposing of pending motions; establishing a reasonable limit on the time allowed
 for presenting evidence; and such other matters as may facilitate the just, speedy,
 and inexpensive disposition of the action. See Fed. R. Civ. P. 16(c), (d).

 VI.    SANCTIONS

        The Court may impose sanctions on any party or attorney: 1) who fails to
 attend and to participate actively in the meeting to prepare the Joint Pretrial
 Statement, or who refuses to sign and file the agreed document; 2) who fails to
 attend the Final Pretrial Conference, or who is substantially unprepared to
 participate; 3) who fails to attend the mediation and actively participate in good
 faith, or who attends the mediation without full authority to negotiate a settlement,
 or who is substantially unprepared to participate in the mediation; or 4) who
 otherwise fails to comply with this order. Sanctions may include but are not limited
 to an award of reasonable attorney’s fees and costs, the striking of pleadings, the
 entry of default, the dismissal of the case, and a finding of contempt of court. See
 Fed. R. Civ. P. 16(f) and 37; Local Rule 2.04; 28 U.S.C. § 1927

 VII. TRIAL

         A.    Trial Before District Judge – A case scheduled for trial before a
 United States District Judge normally will be called for trial on the first day of the
 trial term indicated in the above table, or as soon after that date as possible in light
 of the Court’s felony and civil trial calendar.4 Cases not reached for trial in the
 month scheduled will be carried over to the following month on a trailing trial
 calendar, and issued subpoenas will continue in force. Counsel, parties, and
 witnesses shall be available on twenty-four hours notice for trial after
 the beginning of the trial term. A different District Judge or visiting judge may
 try the case. The case may be set for trial in the Orlando Division, Tampa Division,
 Fort Myers Division, Ocala Division, or Jacksonville Division of the Court. Local
 Rule 1.04. Absent a showing of good cause, any party whose turn it is to provide
 evidence will be deemed to have rested if, during the hours designated for trial, the
 party has no further evidence or witnesses available.



 4This case may be reassigned to a visiting District Judge at any time. In unusual and
 extraordinary circumstances, the Court may re-notice this case for trial shortly before the first
 day of the trial term if necessary to accommodate the trial schedule of the District Judge.


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        B.     Trial Before Magistrate Judge – A case scheduled for trial before
 a United States Magistrate Judge will be called for trial on a date certain. With
 respect to a civil case that remains pending before a District Judge as of the date of
 this order, the United States District Judges of the Middle District of Florida wish
 to afford the parties the opportunity to consent to proceed before a Magistrate
 Judge. Consent must be unanimous. A United States Magistrate Judge is available
 pursuant to 28 U.S.C. § 636(c) and Federal Rule of Civil Procedure 73(a) to conduct
 all further proceedings in this case (or specified motions in this case), to conduct a
 jury or non-jury trial beginning on a date certain, and to enter final judgment.
 A party may appeal a final judgment of a Magistrate Judge to the United States
 Court of Appeals for the Eleventh Circuit in the same manner as an appeal from
 the district court. 28 U.S.C. § 636(c)(3); Fed. R. Civ. P. 73. A party is free to
 withhold consent without adverse consequences. 28 U.S.C. § 636 (c)(2); Fed. R.
 Civ. P. 73(b). Consent forms are attached to this order. Fed. R. Civ. P. 73(b).

        C.      Settlement – Counsel shall immediately notify the Court upon
 settlement of any case. Local Rule 3.09(a). The parties shall notify the Court of any
 settlement or other disposition of the case which will eliminate the need for a jury
 by 11:30 a.m. on the last business day before the date scheduled for jury selection.
 Failure to do so will subject each party to joint and several liability for jury costs.
 Regardless of the status of settlement negotiations, the parties shall appear for all
 scheduled hearings, including the Final Pretrial Conference and for trial absent the
 filing of a stipulation of dismissal signed by all parties who have appeared in the
 action (or notice of dismissal if prior to answer and motion for summary
 judgment). Fed. R. Civ. P. 41(a).

       DONE AND ORDERED in Orlando, Florida on January 27, 2023.




 Attachments:

 Exhibit List Form [mandatory form]
 Magistrate Judge Consent / Entire Case
 Magistrate Judge Consent / Specified Motions
 Objections to Deposition Designations




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                                  EXHIBIT LIST
                             Government              Plaintiff             Defendant              Court



                    Case No.
                    Style:

    Exhibit   Date               Date              Sponsoring         Objections /             Description
    No.       Identified         Admitted          Witnesses          Stipulated               of Exhibit
                                                                      Admissions 1




1Use a code (e.g. “A” or “*”) in this column to identify exhibits to be received in evidence by agreement without
objections. Otherwise, specifically state each objection to each opposed exhibit. Please note that each date box
on the left must be one inch wide to accommodate the Clerk’s stamp.
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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                         Middle District of Florida

                CHRISTIAN S. KENNEDY
                              Plaintiff
                                                                          )
                                                                          )
                 v.                                                             Civil Action No.      6:22-cv-2210-PGB-EJK
                                                                          )
 HEALTHCARE REVENUE RECOVERY GROUP,
                                                                          )
              LLC, et al.
                                                                          )
                            Defendants



     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment.
The judgment may then be appealed directly to the United States court of appeals like any other judgment of this
court. A magistrate judge may exercise this authority only if all parties voluntarily consent.

       You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case.

        Consent to a magistrate judge’s authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-
trial proceedings.

           Parties’ printed names                              Signatures of parties or attorneys                        Dates




                                                             Reference Order
       IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings
and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.

Date:
                                                                                            District Judge’s signature




                                                                                             Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.



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AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge




                                   UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Middle District of Florida

               CHRISTIAN S. KENNEDY
                                                                         )
                            Plaintiff
                                                                         )
                v.                                                               Civil Action No. 6:22-cv-2210-PGB-EJK
                                                                         )
HEALTHCARE REVENUE RECOVERY GROUP,
                                                                         )
             LLC, et al.
                                                                         )
                          Defendants

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE
                                    JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available
to conduct all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise
this authority only if all parties voluntarily consent.

       You may consent to have motions referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case.

       Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent
to have a United States magistrate judge conduct any and all proceedings and enter a final order as to each
motion identified below (identify each motion by document number and title).

               Motions:




         Parties’ printed names                             Signatures of parties or attorneys                               Dates




                                                           Reference Order

       IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all
proceedings and enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                   District Judge’s signature


                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
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                       Objections to Deposition Designations


[Name and Date of Deposition 1]

     Begin Page/Line                End Page/Line             Objection




[Name and Date of Deposition 2]

     Begin Page/Line                End Page/Line             Objection




                                  Counter-Designations

[Name and Date of Deposition]

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